                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

In re:                                                                            Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                            Case No. 17-12560 (BLS)
al.,1
                                                       (Jointly Administered)
                           Remaining Debtors.
MICHAEL GOLDBERG, as Liquidating Trustee of the
Woodbridge Liquidation Trust, successor in interest to
the estates of WOODBRIDGE GROUP OF
COMPANIES, LLC, et al.,                                Adversary Proceeding
                                                       Case No. 19-50920 (BLS)
                           Plaintiff,
                            vs.

MARK GOLDFINGER, an individual,

                                          Defendant.

                   STIPULATION REGARDING APPOINTMENT OF MEDIATOR

                      Pursuant to this Court’s September 3, 2020, scheduling order (the “Scheduling

 Order”), plaintiff, Michael Goldberg, in his capacity as Liquidating Trustee of the Woodbridge

 Liquidation Trust, and defendant Mark Goldfinger, stipulate as follows:

                      1.        Leslie A. Berkoff, Esquire, of Moitt Hock & Hamroff LLP shall be

 appointed as the mediator (the “Mediator”) in this adversary proceeding.

                      2.        The mediation between the parties shall proceed in accordance with the

 Scheduling Order and the deadlines set forth therein and shall be conducted in accordance with

 the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for

 the District of Delaware and/or otherwise as may be agreed by the parties and the Mediator. The

 parties will select a date for commencement of the mediation.

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  The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows: Woodbridge Group of
 Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The Remaining Debtors’ mailing address is 14140 Ventura
 Boulevard, #302, Sherman Oaks, California 91423.



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  STIPULATED AND AGREED:

  Dated: November 30, 2020

  PACHULSKI STANG ZIEHL & JONES LLP

  /s/ Colin R. Robinson                       /s/ Mark Goldfinger
  Bradford J. Sandler (DE Bar No. 4142)       Mark Goldfinger
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